

People v Pantaleon (2021 NY Slip Op 06452)





People v Pantaleon


2021 NY Slip Op 06452


Decided on November 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 18, 2021

Before: Kapnick, J.P., Webber, Oing, Moulton, Rodriguez, JJ. 


Ind No. 97/15 721/15 721/15 Appeal No. 14657-14657A&amp;amp,M-03298 Case No. 2018-03592 

[*1]The People of the State of New York, Respondent,
vKevin Pantaleon, Defendant-Appellant. 


Robert S. Dean, Center for Appellate Litigation, New York (Elizabeth G. Caldwell of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (R. Jeannie Campbell-Urban of counsel), for respondent.



Judgments, Supreme Court, New York County (Juan M. Merchan, J.), convicting defendant, upon his pleas of guilty, of two counts of burglary in the second degree, criminal mischief in the third degree and petit larceny, and sentencing him to an aggregate term of five years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the fees and surcharges imposed at sentencing, and otherwise affirmed.
We find defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US —&amp;mdash, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]), which forecloses review of his excessive sentence claim. Even assuming the waiver was not valid, we perceive no basis for reducing the sentence. However, based on the People's consent as a matter of prosecutorial discretion, and pursuant to our own interest of justice powers, we direct that the surcharge and fees imposed on defendant at sentencing be waived (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]).		M-03218	 The People of the State of New York v Kevin Pantaleon
Motion to enlarge the record, denied.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 18, 2021








